                    Case 1:18-cv-02708-DKC Document 3 Filed 09/18/18 Page 1 of 4


 AD 440 (Rev. 06112) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                                 for the



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    'DAVID           ALL~tJ                 WARD                   )
                             Plaintiff(s)
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                                                                   )
                                  v.                                       Civil Action No.    1:18-cv-02708-DKC
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     ED GtER            PAUL- WILl-lAMS                   JQ.      )
                            Defendanr(s)                           )

                                                      SUMMONS   IN A CIVIL ACTION

To: (Defendant's name and address)
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    1 "03        ROLLIN"             /?,j)
     Bel-AlP., Mj)               2.10I~


           A laws uit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
    DAVID          Al-LiiN wAR.j)
    p, D. BoX. 9-133
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        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.                                               D
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                                                                             CLERK OF COURT

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              9/18/2018
Date:
                                                                                        Signature of Clerk or Deputy Clerk
                    Case 1:18-cv-02708-DKC Document 3 Filed 09/18/18 Page 2 of 4


A0440   (Rev. 06/12) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
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                             Plaint!ff(s)
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                                  v.                                       Civil Action No.   1:18-cv-02708-DKC
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         j/EEL~             HoUSe; L L                c..          )
                           DeJendant(s)                            )

                                                      SUMMONS   IN A CIVIL ACTION

To: (Defendant's name and address)
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 'bOO       ROLLING,             RD
 oi=l-AI~. MD              :2..101   ,+

         A lawsuit has been filed against you.

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are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule J 2 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

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        If you fail to respond, judgment by default will be entered against you for the relief demanded             in the complaint.
You also must file your answer or motion with the court.                                                            D
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                                                                             CLERK OF COURT
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Date:       9/18/2018
                                                                                        Signature a/Clerk or Deputy Clerk
                   Case 1:18-cv-02708-DKC Document 3 Filed 09/18/18 Page 3 of 4


AD 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
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  DAVID            AI.-/..EtJ        WARD                         )
                            Plaintiff(s)
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                                v.                                       Civil Action No.   1:18-cv-02708-DKC
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                              HDFFMAN                             )
                           Defendant(s)                           )

                                                  SUMMONS      IN A CIVIL ACTION

To: (Defendant's name and address)

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   COl.UmBIA,           /I1D     1..104-"'-
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the Federal Rules of Civil Procedure, The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
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You also must file your answer or motion with the court.                                                         D
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                                                                           CLERK OF COURT

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Date:
            9/18/2018
                                                                                      Signature o/Clerk or Deputy Clerk
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 AD 440 (Rev. 06/12)   Summons in a Civil Action


                                           UNITED STATES DISTRICT COURT
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      DAV I'D ALl-EAl                          WAt<.D              )
                                Plaintiff(s)                       )
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                                    v.                                     Civil Action No.   1:18-cv-02708-DKC
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            Ex. f: c- U HOM 1:                 Rj::A LT l(         )
                               Defendant(s)                        )

                                                      SUMMONS IN A CIVIL ACTION

To:   (Defendant's name and address)

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Date:          9/18/2018
                                                                                        Signature a/Clerk or Deputy Clerk
